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1700 G Street NW,
Washington, DC 20552
June 14, 2019
Via ECF
The Honorable Thomas I. Vanaskie, Special Master
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:      CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM
Dear Judge Vanaskie:
        I am writing on behalf of the Bureau regarding the 602 documents that the Bureau submitted
for in camera review on June 12, 2019, as directed in Special Master Report #35 (Doc. 323). The
Bureau is writing this letter to (1) identify the subset of the submitted documents that includes at
least one instance of every unique individual email and one copy of every unique non-email
document; and (2) explain why there is no basis to order production of any part of the 602
documents that the Bureau continues to withhold in whole or in part.
I.     The Bureau’s identification of the subset of documents containing at least one instance
       of every unique individual email and one copy of every unique non-email document
         To reduce the volume of documents to be reviewed, the Bureau has identified, for each
group of documents listed in Defendants’ May 17, 2019 letter, the subset of documents that includes
at least one instance of every unique individual email and one copy of every unique non-email
document (such as Word or pdf attachments). These documents are identified in Appendix A. In
this letter, the Bureau refers to these documents as the “inclusive subset.” 1 The inclusive subset
excludes the 27 documents that the Bureau produced to Defendants on June 12, 2019.
II.    Defendants’ lack of any basis to obtain the documents submitted for in camera review
       A.       Internal Bureau documents related to potential student loan credit reporting guidance
        The inclusive subset for this group consists of 128 documents. 2 All of these documents are
entirely internal pre-decisional deliberations relating to a February 8, 2016 letter sent by the Bureau
to the Department of Education (“ED”), in which the Bureau provided recommendations to ED on


       1
         For the reasons similar to those explained in the Bureau’s May 21, 2019 letter (Doc. 302),
in many instances, there is no single document that contains all of the individual emails in a
particular thread. For such email threads, the inclusive subset consists of multiple documents in
order to capture each unique pathway in the thread. Further, many individual emails appear in
multiple documents within the inclusive set, because unique pathways often share earlier emails in
common, even though they later diverge.
       2
         This does not include the four emails concerning the same credit reporting blog post that
was at issue with respect to communications that the Bureau elected not to recall, as described in the
Bureau’s May 10, 2019 letter. The Bureau has produced those four documents to Defendants.
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various issues relating to credit reporting for student loans. These documents include internal
Bureau emails relating to (1) the development of those recommendations, (2) the drafting of the
letter, including decisions about the content of the letter, and (3) decisions about the potential
publication or transmission of the letter. Your Honor’s previous orders in connection with the in
camera review of drafts of other documents depended in large part on whether a final version of
those documents was available to Defendants. 3 The February 8, 2016 letter to ED is the final
document relevant to this group of documents, and the Bureau has produced that letter to
Defendants. Accordingly, there is no basis to order the production of any document in this group.
        To maintain consistency with Your Honor’s prior rulings regarding documents in Category
37, the Bureau reviewed the documents in this group “for the purpose of seeing whether they dealt
with the AL Code or the treatment of loans discharged due to disability” – the topics that Your
Honor looked for in reviewing the documents previously withheld under Category 37. Special
Master Report No. 6 (Doc. 290), at 4. 4 The Bureau identified two documents that contain discussion
of the AL Code (Nos. 20108 and 20188), and the Bureau has produced those documents to
Defendants in redacted form, with the portion relating to the AL Code unredacted.
        The Bureau notes that the originating email for all of the documents in this group – the email
sent by “RC” (Richard Cordray) on December 14, 2015 at 4:24 pm – was previously submitted to
and reviewed by Your Honor during the recently concluded in camera review. That email is part of
Document No. 96 on the Bureau’s February 5, 2019 Supplemental Privilege Log (CFPB-NAV-
0056672). Your Honor held that that Mr. Cordray’s email, as well as the other emails in the chain,
did not have to be produced. Special Master Report No. 6 (Doc. 290), at 5 (“None of the email
strings under Category 37 (Documents 84, 87, 90, 93, 96, 97, 100, 103), withheld in part through
redactions, mentions the AL Code or reports to credit reporting agencies for student loans
discharged due to the disability of the borrower. Accordingly, the Bureau will not be required to
produce any parts of these redacted email messages.”).
        In addition, the Bureau is now asserting the attorney-client privilege and/or the attorney
work product doctrine over certain documents or portions of documents in this group, as described
in Appendix B. The Bureau inadvertently omitted these privilege assertions from its April 30, 2019
privilege log but is now asserting these additional privileges based upon its re-review of these
challenged documents prior to their submission to Your Honor.
       B.      Documents related to the Payback Playbook
       The inclusive subset for this group consists of 14 documents. One of these documents (Doc.
No. 22441) is an exact duplicate of a document that the Bureau previously withheld under Category

       3
         See, e.g., Special Master Report No. 3 (Doc. 266), at 35 (holding that documents relating to
the development or drafting of publicly-available “Fact Sheets” did not have to be produced
because “Defendants have the operative documents – the Fact Sheets”); Special Master Report No.
6 (Doc. 290), at 4 (ordering the Bureau to produce portions of draft credit reporting “Strawman”
documents withheld under Category 37 because “it does not appear that [the document] was ever
finalized,” such that “there is no other available evidence on this issue”).
       4
         When Your Honor made these prior rulings, the Bureau had not produced the February 8,
2016 letter to Defendants.



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71 and which Your Honor has already reviewed and held did not have to be produced. Special
Master Report No. 9 (Doc. 299), at 9 (allowing the Bureau to withhold document #53 on the
Bureau’s February 15, 2019 Supplemental Privilege Log). 5 That ruling should also apply to
Document No. 22441 on the Bureau’s April 30, 2019 Privilege Log, which is the only
communication with ED in this group of documents.
        All of the other documents in this group are entirely internal pre-decisional and deliberative
documents relating to the drafting and development of the Payback Playbook. The Bureau’s internal
deliberations about the Payback Playbook are not relevant to any issue in this action.
       C.      Internal Bureau documents related to technical assistance provided to ED
        The inclusive subset for this group consists of 52 documents, all of which are entirely
internal Bureau documents. Five of these documents are internal pre-decisional and deliberative
documents relating to the development of technical assistance provided to ED in connection with
the preparation of the document titled “Fact Sheet: Protecting Student Loan Borrowers.” 6 Your
Honor has already held that communications relating to the drafting of the April 28, 2016 Fact
Sheet do not have to be produced. Special Master Report No. 6 (Doc. 290), at 5-10.
        The other 47 documents are internal pre-decisional and deliberative documents relating to
the development and drafting of the technical assistance document provided to ED in connection
with the July 20, 2016 Memorandum from Ted Mitchell to James Runcie (“Runcie
Memorandum”). 7 Your Honor previously ordered the Bureau to produce the final version of the
technical assistance document that was transmitted to ED in connection with the Runcie
Memorandum. Special Master Report No. 5 (Doc. 279), at 16. However, the 47 documents relating
to the development and drafting of that technical assistance document should not be produced
because they are exclusively internal pre-decisional and deliberative documents, and therefore are
not relevant to any issue in this action. Moreover, because Defendants have the final version of the
technical assistance document transmitted to ED, there is no need for them to obtain the Bureau’s
internal drafts.
        In addition, the Bureau is now asserting the attorney-client privilege and/or attorney work
product doctrine over certain documents or portions of documents in this group, as described in
Appendix B. The Bureau inadvertently omitted these privilege assertions from its April 30, 2019
privilege log but is now asserting these additional privileges based upon its re-review of these
challenged documents prior to their submission to Your Honor.



       5
       This document is identified on that log by its beginning Bates number CFPB-NAV-
0057327.
       6
      The 5 documents relating to the development of the Fact Sheet have the following
Document Numbers: 2647, 4286, 4287, 9989, and 14653.
       7
          One of the documents identified in Defendants’ May 17, 2019 letter as pertaining to
“Communications with the Department of Education” – Document No. 16543 – is an internal email
relating to the development of this technical assistance document. Therefore, the Bureau has
included that document in this subset.



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       D.      Documents related to communications with ED
        The inclusive subset for this group consists of 29 documents. 8 In Appendix C, the Bureau
provides a further breakdown of these 29 documents by grouping the documents by the subject line
of the email thread or filename of the document. Appendix C also provides additional information
regarding the deliberative process reflected in the withheld materials.
        As shown in Appendix C, none of these withheld materials are relevant to any issue in this
action. Moreover, many of these documents are not communications with ED, so there is no
potential relevance even under the Court’s May 4, 2018 Order (Doc. 89).
       E.      Internal Bureau documents with the filename “Draft Sallie Mae memo to the file”
        The inclusive subset for this group consists of 17 documents. These documents are drafts of
a memorandum prepared by personnel in the Bureau’s Office of Supervision for the purpose of
identifying and describing facts and issues that would assist senior leadership in the Office of
Supervision in determining priorities, strategies, and resource allocation for that office. These
documents contain no information relevant to any issue in this action. Additionally, as described in
Appendix B, upon re-reviewing these documents, the Bureau is now asserting the attorney-client
privilege over portions of these documents.
       F.      Internal Bureau documents with a subject line “Start Review: Federal Student Loan
               Rehabilitation Data”
        The inclusive subset for this group consists of 5 documents. These documents relate to the
process of drafting a letter that the Bureau sent or considered sending to various student loan
servicers, including Navient, regarding federal student loan rehabilitation data. The deliberations
regarding the content of the letters is not relevant to any issue in this action.
       *                      *                       *                    *                      *
        To summarize the foregoing, the Bureau has produced to Defendants 27 documents from the
original universe of 629 documents. The remaining 602 documents – which the Bureau submitted
to Your Honor for in camera review – are entirely pre-decisional and deliberative, and contain no
information relevant to any issue in this action.
                                                      Respectfully submitted,
                                                      /s/ Nick Jabbour




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         Eight of the documents identified by Defendants as pertaining to “Communications with
the Department of Education” are part of the same email thread reflected in the inclusive set of 128
documents relating to credit reporting that the Bureau withheld under Category 37. Those eight
documents (Nos. 33, 236, 635, 6853, 6854, 6857, 9935, 16882) are entirely subsumed within the set
of 128 documents, such that every individual email in those eight documents appears at least once
within the set of 128 documents. Accordingly, the Bureau has not included those eight documents
within the 29 documents referenced in this section.


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                                Appendix A: The inclusive subset

Group Listed in                 Inclusive Subset
Defendants’ May 17, 2019
Letter

Documents related to student    128 documents: 18115, 18120, 18172, 18173, 18174, 18176,
loan credit reporting           18177, 18178, 18180, 18184, 18185, 18186, 18187, 18294,
                                18295, 18304, 18311, 18477, 18482, 18483, 18488, 18489,
                                18492, 18506, 18512, 18516, 18521, 18524, 18535, 18540,
                                18542, 18546, 18549, 19036, 19045, 19046, 19049, 19051,
                                19052, 19055, 19959, 19966, 19971, 19976, 19979, 19984,
                                19986, 19988, 19991, 19993, 19994, 19995, 19997, 20000,
                                20089, 20090, 20091, 20094, 20097, 20098, 20102, 20105,
                                20112, 20119, 20126, 20130, 20132, 20134, 20137, 20140,
                                20142, 20144, 20147, 20150, 20153, 20157, 20159, 20164,
                                20165, 20167, 20168, 20170, 20171, 20175, 20177, 20184,
                                20187, 20188, 20189, 20191, 20192, 20196, 20197, 20199,
                                20282, 20284, 20285, 20286, 20288, 20713, 20718, 20735,
                                21103, 21265, 21268, 21289, 21291, 21294, 21336, 21339,
                                21341, 21556, 21564, 21565, 21566, 21569, 21570, 21571,
                                21611, 21651, 21688, 21710, 21712, 21986, 21988, 22389,
                                22391, 22426

Documents related to the        14 documents: 288, 3649, 12105, 12106, 15282, 15492, 15966,
Payback Playbook                15967, 15970, 16023, 16024, 21361, 21362, 22441

Documents related to            52 documents: 812, 2647, 2751, 2800, 2805, 2808, 2810, 2813,
technical assistance provided   2821, 2823, 2848, 2849, 4286, 4287, 4363, 7479, 7480, 8046,
to ED                           8453, 9087, 9099, 9104, 9264, 9989, 12098, 14653, 14756,
                                14757, 14774, 14825, 14826, 14838, 16380, 16543, 16544,
                                16546, 16550, 16566, 17042, 17628, 17855, 18718, 18722,
                                18882, 21174, 21175, 21178, 21664, 22452, 22453, 22480,
                                22481

Documents related to            29 documents: 492, 539, 4404, 4407, 4412, 4416, 4417, 4418,
communications with ED          5605, 5806, 6157, 6161, 6202, 6204, 8529, 8579, 8703, 8705,
                                8798, 11096, 13621, 14223, 14224, 14226, 14227, 14233,
                                16503, 18242, 18762

Documents with the filename 17 documents: 4599, 4722, 4723, 4724, 4725, 4726, 4727, 4728,
“Draft Sallie Mae memo to   4729, 4730, 4737, 4738, 4739, 4809, 8501, 8502, 12300
the file”
Documents with a subject    5 documents: 8128, 8132, 8135, 8136, 8139
line “Start Review: Federal
Student Loan Rehabilitation
Data”


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                                       Appendix B:
    Attorney-client and attorney work product privilege assertions for the inclusive subset

 Document Nos. 9                             Description of Privileged Materials and Basis for
                                             Withholding

 All 128 documents in the inclusive          The Bureau asserts the attorney work product doctrine
 subset for the group of documents           over the last paragraph of Mr. Cordray’s email sent on
 relating to student loan credit reporting   December 14, 2015. The email reflects the Bureau’s
                                             strategies in anticipation of potential litigation against
                                             Navient, including its settlement strategies and potential
                                             injunctive relief being pursued against Navient in the
                                             pre-suit investigation.

 18172, 18482, 18483, 18488, 18489,          The Bureau asserts the attorney work product doctrine
 18492, 21336, 22426 (these documents        over the email sent by Jeffrey Langer on December 14,
 are all in the inclusive subset for the     2015 and the email sent by Thomas Conkling on
 group of documents relating to student      December 15, 2015. These emails reflect the Bureau’s
 loan credit reporting)                      strategies in anticipation of potential litigation against
                                             Navient, including its settlement strategies and potential
                                             injunctive relief being pursued against Navient in the
                                             pre-suit investigation.

 18115, 18120, 18172, 18177, 18178,          The Bureau asserts the attorney-client privilege over the
 18180, 18184, 18185, 18186, 18187,          emails sent by any of the following Bureau attorneys:
 18304, 18311, 18477, 18482, 18483,          Brandis Anderson, Veronica Spicer, Veronica Spicer,
 18488, 18489, 18492, 18540, 18546,          Kristen Donoghue, Martha Fulford, Lisa Cole, Susan
 18549, 19036, 19049, 19052, 19055,          Torzilli, David Wake, Brian Shearer, Susan Stocks,
 19959, 19997, 20000, 20094, 20097,          Elizabeth Boison, Thomas Pahl, Pavneet Singh, and
 20102, 20105, 20112, 20119, 20126,          Charles Honig. These emails were sent for the purpose of
 20130, 20132, 20134, 20137, 20140,          developing or providing legal advice regarding student
 20142, 20144, 20147, 20150, 20153,          loan credit reporting issues.
 20157, 20159, 20164, 20165, 20167,
 20168, 20170, 20171, 20175, 20177,
 20184, 20187, 20188, 20189, 20191,
 20192, 20196, 20197, 20199, 20282,
 20285, 20286, 20288, 20713, 20718,
 20735, 21103, 21268, 21336, 21570,
 21571, 21611, 21986, 22389, 22391,
 22426 (these documents are all in the
 inclusive subset for the group of


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          The Bureau has only listed documents in the inclusive subset, but its attorney-client
privilege and work product assertions apply to the same content in other documents in the original
group of documents identified by Defendants, including duplicates and other versions of emails
entirely subsumed in the inclusive set.


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documents relating to student loan credit
reporting)

19036, 20130, 20134, 20137, 20144,           The Bureau asserts the attorney-client privilege over the
20150, 20157, 20159, 20164, 20165,           emails sent by Mike Pierce to Bureau attorneys Susan
20175, 20177, 20189, 20197, 20199            Torzilli and/or Brian Shearer. These emails were sent for
(these documents are all in the inclusive    the purpose of seeking legal advice regarding student
subset for the group of documents            loan credit reporting issues.
relating to student loan credit reporting)

2808, 2810, 2813, 2848, 2849, 8453,          The Bureau asserts the attorney-client privilege over all
9087, 9099, 9104, 9264, 12098, 14756,        comments and redline edits on these drafts of the
14774, 14825, 14826, 14838, 16544,           technical assistance document provided by the following
16546, 16550, 16566, 17042, 17628,           Bureau attorneys: Nicholas Jabbour, Thomas Kim,
17855, 18718, 18722, 21174, 21175,           Brandis Anderson, Leanne Hartmann, Veronica Spicer,
21178, 22452, 22453, 22480 (these            Brian Shearer, Lisa Cole, and Brent Lattin. These
documents are all in the inclusive subset    comments and edits provide or reflect legal advice
for the group of documents relating to       provided by Bureau attorneys regarding the drafting of
technical assistance provided to ED)         the technical assistance document.

812, 2751, 2800, 2805, 2821, 2823,           The Bureau asserts the attorney-client privilege over all
4363, 7479, 7480, 8046, 16380, 14757         emails regarding the development of technical assistance
(these documents are all in the inclusive    to ED that were sent to or from the following Bureau
subset for the group of documents            attorneys: Nicholas Jabbour, Thomas Kim, Brandis
relating to technical assistance provided    Anderson, Leanne Hartmann, Cynthia Lesser, Veronica
to ED)                                       Spicer, Kristen Donoghue, Karen Meyers, Brian Shearer,
                                             and Susan Torzilli. These emails were sent for the
                                             purpose of seeking or providing legal advice regarding
                                             the drafting of the technical assistance document.

21664, 22480, 22481 (these documents         The Bureau asserts the attorney-client privilege and
are all in the inclusive subset for the      attorney work product doctrine over the paragraph on
group of documents relating to technical     page 4 of the draft or final versions of the
assistance provided to ED)                   Recommendation Memorandum to the Bureau’s former
                                             Director that begins with “The Office of Enforcement,”
                                             including the header of that paragraph. This paragraph
                                             reflects legal advice provided by Enforcement attorneys
                                             regarding the investigation of Navient and their mental
                                             impressions and opinions in anticipation of potential
                                             litigation against Navient.

All 17 documents in the inclusive subset     The Bureau is asserting the attorney-client privilege over
for the group of documents with the          all sentences in these documents relating to potential
filename “Draft Sallie Mae memo to the       larger participant rules for student loan servicers and debt
file”                                        collectors. These sentences reflect legal advice regarding
                                             those potential larger participant rules.



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                          Appendix C: Additional information
             about documents purportedly relating to communications with ED

Subject Line or            Comm.   Reasons the Documents Should Not Be Produced
Filename and               with
Document Nos.              ED?

“ED Press Release --       No      The redacted line is a portion of an internal Bureau email
happy to give details by           that reflects a deliberation relating to prioritization of
phone next week”                   examinations for the Bureau’s Office of Supervision, which
                                   is not relevant to any issue in this action.
Nos. 5605, 8703, 8705
“New Department of         No      These are internal Bureau emails to brief the Bureau’s
ED guidance on                     former Director and his executive leadership team regarding
SCRA/student loans”                issues relating to the Servicemembers Civil Relief Act,
                                   which are not relevant to any issue in this action.
Nos. 492, 539
“On deadline: Ed           No      These are internal Bureau emails reflecting deliberations
referral inquiry”                  about how to respond to a press inquiry. Neither the
                                   question from the press nor the Bureau’s deliberation about
Nos. 4404, 4407, 4412,             how to respond is relevant to any issue in this action.
4416, 4417, 4418,
11096
“Dept of Ed Quote”         No      These internal Bureau emails reflect a deliberation regarding
                                   the drafting of press materials that are not relevant to any
No. 8798                           issue in this action.
“Follow up on industry     No      These internal Bureau emails reflects a deliberation
comments”                          regarding the selection of particular information to provide
                                   to Treasury to support the ongoing collaboration between
No. 18242                          Treasury and the Bureau regarding the development of
                                   policies and guidance relating to student loan servicing. The
                                   information selected is publicly available, but the Bureau’s
                                   internal deliberation reflecting what particular information
                                   to select from the universe of all potentially relevant
                                   information is not relevant to any issue in this action.
“Department of             No      These internal Bureau emails were used to identify and track
Education Contractor               information relevant to the deliberative process of
Resources”                         determining priorities and strategies for the Bureau’s Office
                                   of Supervision. The Office of Supervision’s deliberations
No. 5806                           regarding its priorities and strategies, including what
                                   information personnel in the Office of Supervision deemed
                                   relevant to those deliberations, are not relevant to any issue
                                   in this action.
“Pioneer - Department      No      These internal Bureau emails reflect a discussion of
of Education”                      information in connection with the deliberative process of
                                   determining strategies for the Bureau’s Office of

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Nos. 6157, 6161                 Supervision and the preparation of press materials, neither
                                of which is not relevant to any issue in this action.
“FW: ED OIG Report        No    This internal Bureau email was used to convey information
on PCAs”                        that personnel in the Bureau’s Office of Supervision deemed
                                relevant to determining priorities and strategies for the
No. 16503                       Office of Supervision. The Office of Supervision’s
                                deliberations regarding its priorities and strategies, including
                                what information personnel in the Office of Supervision
                                deemed relevant to those deliberations, are not relevant to
                                any issue in this action.
“MASTER recompete         No    This is a draft of the Runcie memorandum attached to an
memo 7.14.16 120pm”             internal Bureau email. Because it contains no comments
(filename)                      from ED, no portion of it should be produced. See Special
                                Master Report No. 7 (Doc. 295), at 5-6.
No. 18762
“Omnibus                 Yes    These emails reflect an ongoing joint deliberative process
Appropriations Bill             between ED and the Bureau regarding the development of
Provisions and Potential        policies or guidance relating to student loan servicing,
for Coordination                including policies or guidance consistent with the joint
Between Education and           statement of principles. As with documents relating to the
CFPB”                           joint statement of principles that were previously withheld
                                under Category 75 and that Your Honor held did not have to
Nos. 14223, 14224,              be produced, these documents are not relevant because they
14226, 14227, 14233             “do not reflect disagreement on the core principles of
                                consistency in servicing requirements, the need to provide
                                borrowers with accurate and actionable information,
                                accountability for student loan servicers, and transparency.”
                                Special Master Report No. 9 (Doc. 303), at 19.
“CFPB Clearance”          Yes   These emails reflect a deliberation regarding the potential
                                sharing of information in connection with the examination
No. 8529                        of Pioneer. These deliberations are not relevant to any issue
                                in this action.
“inquiry referred to ED   Yes   These emails reflect a deliberation relating to the handling
from CFPB”                      of a consumer complaint that is not relevant to any issue in
                                this action.
Nos. 8579, 13621
“Supervisory              Yes   These emails reflect deliberations regarding the drafting of
Highlights”                     “Supervisory Highlights,” a publicly-available document
                                issued by the Office of Supervision. These emails contain no
Nos. 6202, 6204                 information relevant to any issue in this action.




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